              Case 21-55752-pmb                   Doc 1      Filed 08/02/21 Entered 08/02/21 18:57:54                              Desc Main
                                                             Document      Page 1 of 7

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New Vision Realty & Investments, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3645 Marketplace Blvd.
                                  Unit 130-593
                                  Atlanta, GA 30344
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 21-55752-pmb                      Doc 1       Filed 08/02/21 Entered 08/02/21 18:57:54                                      Desc Main
                                                                 Document      Page 2 of 7
Debtor    New Vision Realty & Investments, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
                                                             Northern District of
     If more than 2 cases, attach a                          Georgia Bankruptcy
     separate list.                               District   Court                         When       8/31/20                    Case number    20-69457
                                                             Northern District of
                                                             Georgia Bankruptcy
                                                  District   Court                         When       3/03/20                    Case number    20-63876




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
              Case 21-55752-pmb                         Doc 1           Filed 08/02/21 Entered 08/02/21 18:57:54                              Desc Main
                                                                        Document      Page 3 of 7
Debtor    New Vision Realty & Investments, Inc.                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 21-55752-pmb            Doc 1        Filed 08/02/21 Entered 08/02/21 18:57:54                      Desc Main
                                                       Document      Page 4 of 7
Debtor   New Vision Realty & Investments, Inc.                                        Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
              Case 21-55752-pmb                 Doc 1        Filed 08/02/21 Entered 08/02/21 18:57:54                                Desc Main
                                                             Document      Page 5 of 7
Debtor    New Vision Realty & Investments, Inc.                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 2, 2021
                                                  MM / DD / YYYY


                             X   /s/ Donald Coleman                                                       Donald Coleman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Nicole Carson                                                         Date August 2, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nicole Carson 722305
                                 Printed name

                                 The Carson Firm, LLC
                                 Firm name

                                 225 Arthur Drive
                                 McDonough, GA 30252
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-782-2347                  Email address      nicole@bk-attorneys.com

                                 722305 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
    Case 21-55752-pmb   Doc 1   Filed 08/02/21 Entered 08/02/21 18:57:54   Desc Main
                                Document      Page 6 of 7


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                        Gwendolyn J.Godfrey
                        Polsinelli PC
                        1201 W Peachtree St NW, #1100
                        Atlanta, GA 30309



                        KRT Properties LLC
                        112 Andi Lane
                        Anderson, SC 29626



                        Michael Ainbinder
                        Toorak Capital Partners LLC
                        15 Maple St., Second Fl. West
                        Summit, NJ 07901



                        NewRez LLC
                        dba Shellpoint Mortgage Servic
                        P.O. Box 10826
                        Greenville, SC 29603



                        Normandy Capital Trust
                        c/o Polsinelli
                        120 West Peachtree St NW #1100
                        Atlanta, GA 30309
            Case 21-55752-pmb                         Doc 1          Filed 08/02/21 Entered 08/02/21 18:57:54             Desc Main
                                                                     Document      Page 7 of 7



                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      New Vision Realty & Investments, Inc.                                                        Case No.
                                                                                  Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for New Vision Realty & Investments, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 August 2, 2021                                                       /s/ Nicole Carson
 Date                                                                 Nicole Carson 722305
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for New Vision Realty & Investments, Inc.
                                                                      The Carson Firm, LLC
                                                                      225 Arthur Drive
                                                                      McDonough, GA 30252
                                                                      404-782-2347 Fax:678-288-786
                                                                      nicole@bk-attorneys.com




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